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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


 UNITED STATES OF AMERICA,
                                                        Case No. 1:20-cr-00143
        v.                                              The Honorable Judge Ellis

 ZACKARY ELLIS SANDERS,                                 Motions Hearing: May 7, 2021
                                                        Trial: July 12, 2021
                               Defendant.


                                    [PROPOSED] ORDER

       THIS MATTER comes before the Court on Defendant’s Motion to Seal Defendant’s

Memorandum in Support of his Motion for Leave to File Rule 12.2(B) Notice of Expert

Evidence of a Mental Condition Bearing on Lack of Guilt (“Defendant’s Motion”).

       It appearing to the Court that there is good cause for Mr. Sanders to file a Rule 12.2(b)

notice pursuant to the Federal Rules of Criminal Procedure, the Court ORDERS that Defendant’s

Motion is GRANTED. The CLERK is DIRECTED to file the notice, attached as Exhibit 1 to

Defendant’s motion, on the docket, and to send a copy of this Order to all counsel of record.

ENTERED this ____ day of ___________________, 2021.


                              ______________________________________________
                              T.S. Ellis, III, Judge
